Case 1:18-cr-00170-KB.] Document 7 Filed 06/11/18 Page 1 of 1

 

U.S. Department ofJustice Bookin§ and Processin§ Order

UNITED STATES OF AMERICA
Court Case No. lS-CR-l70

FILED

v.
JAMES A WOLFE JUN 1 "l__ 2018

C|ork. U.S. District & Bankruptcy

ORDER Courts for the District of Columbia

Upon a representation by the United States Attorney’s Ollice that charges have been
brought against defendant lames A. Wolfe,

lt is this llth day of June 2018, ORDERED:

'l`hat the Metropolitan Police Department, FBl Special Agent Joshua Parker, or his
designee, book, lingerprint, photograph, and process lames A. Wolfe on a charge alleging a
violation ofrnaking of false statements, in violation of 18. U.S.C. Section lOOl, and at the
conclusion thereof release the defendant pursuant to the conditions of release ordered by
Maryland United States Magistrate Judge A. l\/lark Coulson which require defendant James A.
Wolfe to appear before District of Columbia United States Magistrate Robin M. Meriweather on

June 12, 2018 at 1145 p.m.

j / M@e,(¢-¢.¢S\_
JUDGE ROBIN M. MERIWEATHER
Magistrate Judge

United States District Court for the
District of Columbia

 

